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                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

UNITED STATES OF AMERICA,


v.                                           CASE NO.: 4:18cr22-MW/HTC

JEFFREY MICHEL,

          Defendant.
__________________________/

        ORDER REJECTING REPORT AND RECOMMENDATION

      This Court has considered, without hearing, the Magistrate Judge’s Report

and Recommendation, ECF No. 224. Upon consideration, with no objections having

been filed by the parties,

      IT IS ORDERED:

      The Report and Recommendation is rejected. This Court agrees with the

Magistrate Judge’s well-reasoned Report and Recommendation, this Court lacks

jurisdiction to consider Defendant’s 28 U.S.C. § 2255 motion while an appeal is

pending. That said, the same day the Magistrate Judge’s Report and

Recommendation was entered, the Eleventh Circuit issued its mandate in this case.

Instead of requiring Defendant to re-file his Amended Motion to Vacate, this Court

directs the Clerk to re-docket the motion, ECF No. 223, as a new entry—as if it were
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filed the same day as the entry of this Order—and remands this case to the Magistrate

Judge for consideration of Defendant’s motion.

      SO ORDERED on January 11, 2021.
                                       s/Mark E. Walker
                                       Chief United States District Judge




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